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ROTHENBERG LAW                                                              ELIZABETH A. WOLFORD

TRIAL LAWYERS
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                                                                            United States District Judge
                                                                           Western District of        York
David Rothenberg, Esq.
                                 April 19, 2019
Times Square Building
45 Exchange Blvd, Suite 800      BY HAND DELIVERY                                            STAITS_DIS^^
Rochester, NY 14614                                                                               FllED~^'
                                 Hon. Elizabeth A. Wolford
Phone(585)232-1946
Fax:(585) 232-4746               United States District Judge                                      1 9 Z019
                                 Kenneth B. Keating Federal Building
david@rothenberglawYers.com      ICQ State Street
rothenberglawyers.com                                                                             EWENGUla
                                 Rochester, New York 14614                                        DISTRICT

                                 Re:     United States v. Alexander Green, et ano.
                                         l4-cr-6038

                                 Dear Judge Wolford:

                                 Please do not think me presumptuous in writing this letter.

                                 I am enclosing copies of two memoranda: an April 2, 2019 memorandum from the
                                 United States Marshal's Service, regarding "2019 Detention Funding Shortfall"; and
                                 an April 16, 2019 memorandum from the Judicial Conference to all United States
                                 Judges, regarding the same.

                                 In light of this budget shortfall, and the series of extraordinary steps recommended
                                 by the Marshal's Service, I respectfully request the Court to reconsider its detention
                                 of Alexander Green, particularly in light of his five-year history of reporting to
                                 Court as ordered. I know that Mr. Green's release and voluntary surrender will not
                                 resolve this budgetary crisis; however, it will certainly alleviate costs that are being
                                 incurred—first by his incarceration in the Livingston County Jail, and second by his
                                 transportation to a designated facility.

                                 I am copying Mr. Eldridge on this letter (by email) and similarly suggesting that the
                                 government reconsider its position. After all, limited financial resources for the
                                 Marshal's Service could be put to far better use than the incarceration and
                                 transportation of Mr. Green.

                                 Thank you for your consideration of this request.




                                        Rothenbei:

                                 DR/be
                                                                                           IZABBTH a.wolford
                                 cc:     Sean Eldridge, AUSA [sean.eldridgeteusdoj:^-^**®^ States District Jud^
                                         Jaimie Nawaday, Esq.[jnawaday@kSfeydty^com] Lj
                                         William Easton, Esq.[wteaston@etksdefensJ?58ffl^
